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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF FLORIDA
                                   GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:96-cr-00020-MP-AK

MACEO ADRIAN BAILEY,

      Defendant.
___________________________/

                                           ORDER

        This matter is before the Court on Doc. 460, Motion for Early Termination of Supervised

Release, filed by Maceo Adrian Bailey. By the order at doc. 378, however, Mr. Bailey's

supervised release was transferred to the Southern District of Florida. Accordingly, the Clerk is

directed to terminate the motion on our docket but to also forward the motion to the Southern

District of Florida.


        DONE AND ORDERED this 6th             day of June, 2007


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
